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  1   Hunter H. Hoestenbach (SBN: 249130)
      HOESTENBACH LAW
  2
      550 W. B St. Fl. 4
  3   San Diego, CA 92101-3537
      Tel: 619.940.4868 / Fax: 619.363.4631
  4
      E-mail: Hunter@HoestenbachLaw.com
  5
      Attorneys for Plaintiff
  6
      Felicia Whitfield
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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                                   WESTERN DIVISION
 11   FELICIA WHITFIELD,                        Case# 2:20-cv-112288
 12
                         Plaintiff,             COMPLAINT
 13                                             [15 U.S.C. §§ 1692 – 1692p]
            v.
 14
                                                Judge:     Hon.
 15   GRASSY SPRAIN GROUP, INC.; and            Ct.:
      DOES 1-10, Inclusive,
 16
                                                Location: U.S. Courthouse
 17                      Defendant.
 18
 19
 20         Plaintiff FELICIA WHITFIELD, based upon information and belief and
 21   investigation of counsel, except for those allegations which pertain to the named
 22   Plaintiff or her attorney(s) (which are alleged on personal knowledge), files this
 23   Complaint and makes the following allegations:
 24
 25
 26
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  1                                     INTRODUCTION
  2          1.    Defendant is a debt collection law firm and debt buyer who unlawfully
  3   attempted to collect a debt from Plaintiff. Consequently, Plaintiff brings this action
  4   against Defendant for violations of the Fair Debt Collection Practices Act
  5   (“FDCPA”), 15 U.S.C. §§ 1692, et. seq.
  6                                      JURISDICTION
  7          2.    Subject matter jurisdiction of this Court arises under 28 U.S.C. §§ 1331,
  8   1337 and 15 U.S.C. § 1692k(d). Supplemental jurisdiction exists for the state law
  9   claims, if any, pursuant to 28 U.S.C. § 1367. Declaratory relief is available pursuant
 10   to 28 U.S.C. §§ 2201, 2202.
 11          3.    This action arises out of Defendant’s violations of the FDCPA, 15
 12   U.S.C. § 1692, et. seq. While many of the violations are described below with
 13   specificity, this Complaint alleges violations of the statutes cited in their entirety.
 14                                           VENUE
 15          4.    Venue is this judicial district is proper pursuant to 28 U.S.C. §
 16   1391(b)(2) in that a substantial part of the events or omissions giving rise to the
 17   claim occurred in this judicial district. Venue is also proper in this judicial district
 18   pursuant to 15 U.S.C. § 1692k(d) in that Defendant transacts business in this judicial
 19   district and the violations of the FDCPA complained of occurred in this judicial
 20   district.
 21                                         PARTIES
 22          5.    Plaintiff FELICIA WHITFIELD is a citizen of the State of California
 23   and resides in Norwalk, Los Angeles County, CA.
 24          6.    Upon information and belief, defendant GRASSY SPRAIN GROUP,
 25   INC. (“GSG”) is a corporation organized under the laws of the state of Florida with
 26   its principal place of business located at 1001 Yamato Rd. Ste. 308, Boca Raton,
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  1   Palm Beach County, FL 33431-4403. GSG may be served with process by and
  2   through its registered agent, CSC – Lawyers Incorporating Service, located at 2710
  3   Gateway Oaks Dr. Ste. 150N, Sacramento, CA 95833.
  4         7.     Defendant DOE is an unknown individual or business entity engaged
  5   in the business of collecting defaulted and charged-off consumer debt in this state.
  6   The true name of Defendant DOE is unknown to Plaintiff at this time and Plaintiff
  7   therefore sues said Defendant by such fictitious name. Plaintiff is informed and
  8   believes, and thereon alleges, that at all relevant times, Defendant DOE was an
  9   individual, limited liability company, corporation or business entity of unknown
 10   form that has resided in, has done or is doing business in the state of California.
 11   Plaintiff will seek leave of the Court to replace the fictitious name of Defendant DOE
 12   with the true name when Plaintiff discovers it. Plaintiff is informed and believes,
 13   and thereon alleges, that Defendant DOE is a “debt collector” within the meaning of
 14   15 U.S.C. § 1692a(6). Plaintiff is informed and believes, and thereon alleges, that
 15   Defendant DOE is vicariously liable to Plaintiff for the acts of GSG.
 16         8.     At all relevant times, each Defendant has committed acts, caused others
 17   to commit acts, ratified the commission of acts or permitted others to commit acts
 18   alleged herein and has made, caused, ratified or permitted others to make the untrue
 19   or misleading representations alleged herein.
 20         9.     Each reference herein to “Defendant,” “Defendants” or a specifically
 21   named Defendant refers to each of the DOE defendants sued under fictitious names.
 22   Each reference herein to any act of “Defendant,” “Defendants” or a specifically
 23   named defendant shall mean that each Defendant acted individually and jointly with
 24   the other Defendants. Unless otherwise indicated, the use of any Defendant’s name
 25   herein includes all agents, employees, officers, members, directors, heirs,
 26
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  1   successors, assigns, principles, trustees, sureties, subrogees, representatives, and
  2   insurers of that Defendant.
  3                              FACTUAL ALLEGATIONS
  4         10.    December 17, 2015: Plaintiff, the borrower, allegedly entered into a
  5   closed-end credit agreement with Cross River Bank, the lender, for a total initial loan
  6   principal of $19,000.00. (Ex. 1 1:¶4). Cross River Bank, at the outset of the loan,
  7   withheld a nonrefundable Loan Origination Fee / Prepaid Finance Charge of $874.00
  8   from the loan proceeds, leaving an outstanding principal balance of $18,126.00. (Ex.
  9   1 1:¶4, 2:¶1). Per the terms of the loan agreement, interest, starting December 17,
 10   2015, was to accrue at 19.39% on the outstanding principal balance of $18,126.00.
 11   (Ex. 1 2:¶1). As explained below, GSG would eventually attempt to unlawfully
 12   collect that Loan Origination Fee / Prepaid Finance Charge from Plaintiff a second
 13   time and would unlawfully attempt to collect interest on that Loan Origination Fee /
 14   Prepaid Finance Charge.
 15         11.    June 3, 2018: Plaintiff allegedly defaulted on the loan.
 16         12.    September 18, 2018: Plaintiff’s loan was charged off.
 17         13.    October 26, 2018: GSG purchased Plaintiff’s charged-off loan.
 18         14.    December 12, 2019: GSG filed a debt collection lawsuit against
 19   Plaintiff in the Los Angeles Superior Court under Case# 19NWLC48812 to recover
 20   the unpaid balance of the loan. Defendants, not in conformity with the terms of the
 21   loan agreement, calculated the amount owed on the loan by amortizing 17.19%
 22   interest against an outstanding principal balance of $19,000.00. Defendant, in
 23   essence, added the already paid $874.00 Loan Origination Fee / Prepaid Finance
 24   Charge back into the outstanding principal balance and attempted to collect that
 25   Loan Origination Fee / Prepaid Finance Charge a second time with interest.
 26   Defendant’s inaccurate and misleading calculation of the balance owed not only
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  1   attempted to hold Plaintiff liable for the Loan Origination Fee / Prepaid Finance
  2   Charge a second time, but it also increased the total amount allegedly owed on the
  3   loan at the time of charge-off by more than $300.00.
  4         15.    New Jersey state law controlled the terms of the loan agreement
  5   allegedly entered by Plaintiff with Cross River Bank. In New Jersey, the interest
  6   rate is capped at 16% on written contracts for loans of money. N.J. Rev. Stat. § 31:1-
  7   1(a). In the event a higher interest rate is stated in the contract, New Jersey law holds
  8   that recovery of all interest is forfeited, and the creditor may only recover the amount
  9   of money actually lent. N.J. Rev. Stat. § 31:1-3. What’s more, all interest the
 10   borrower paid in excess of the legal rate must be deducted from the principal of the
 11   loan. Id. Defendant’s December 12, 2019 debt collection lawsuit unlawfully sought
 12   to collect a usurious 17.19% interest rate from the date of loan inception, December
 13   17, 2015, through default, June 3, 2018. Defendant was never entitled to calculate
 14   this usurious interest into the debt balance because that interest exceeded 16%. Id.
 15   Defendant failed to deduct from the alleged principal owed the interest amounts
 16   Plaintiff had allegedly paid to the prior creditors in excess of the legal rate. Id.
 17         16.    The allegations stated in this paragraph are stated upon information and
 18   belief. New Jersey’s usury law applies to the interest sued for by Defendant because
 19   of the ephemeral relationship between the original lender, Cross River Bank, and the
 20   subject loan. That is, the real lender in interest was at all times Loan Depot, LLC,
 21   the loan servicer. Loan Depot, LLC is a non-bank contractual partner of Cross River
 22   Bank, and Loan Depot, LLC routinely engages in a rent-a-bank scheme with Cross
 23   River Bank to circumvent federal and state banking, lending and usury regulations.
 24   Loan Depot, LLC, at all times, advertises the loans, 100% handles the loan
 25   application and background check process, drafts and executes the loan agreements,
 26   accepts the payments on the loans, communicates with the borrowers and directs the
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  1   bank’s actions and decisions. Cross River Bank’s involvement is limited to nothing
  2   more than funding the loan when instructed to by Loan Depot, LLC. Upon funding
  3   the loans, as happened in this instance, Cross River Bank, by way of a standing
  4   agreement that predates the loans, immediately sells the loans to a Trust named
  5   JLDP. Thereafter, barely two months later, JLDP, on February 19, 2016, sold
  6   Plaintiff’s alleged loan to Jefferies Asset Funding LLC. On that same day, Jefferies
  7   Asset Funding LLC sold Plaintiff’s alleged loan to Marketplace Loan Trust, Series
  8   2016-LD1. At all times, Loan Depot, LLC, who is believed to be the owner of
  9   Marketplace Loan Trust, remained the loan servicer and the real lender in interest.
 10   None of the purchasers and/or owners of Plaintiff’s alleged loan subsequent to Cross
 11   River Bank are state chartered banks, federally insured banks or otherwise exempt
 12   from New Jersey’s usury statutes. In short, there was no bank involvement in
 13   Plaintiff’s alleged loan and thus the interest rate charged on the loan violated New
 14   Jersey’s usury statutes.
 15         17.    On December 12, 2019, when Defendant filed its debt collection
 16   lawsuit against Plaintiff, Defendant improperly pled to recover under a cause of
 17   action for money had and received, knowing at all times it had no viable cause under
 18   that count because the loan proceeds were never intended by any agreement to be
 19   used for the benefit of Defendant. Defendant pled that cause of action also knowing
 20   at all times that money had and received is a count that cannot be adequately pled
 21   for breach of an express contract absent the contract being void for illegality or some
 22   other fatal defect.
 23         18.    As a result of Defendant’s conduct, Plaintiff has incurred attorney’s
 24   fees and costs defending the state court debt collection lawsuit.
 25         19.    As a result of Defendant’s conduct, Plaintiff has been caused to suffer
 26   anxiety and emotional distress.
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  1                              FIRST CAUSE OF ACTION:
  2                             VIOLATION OF THE FDCPA
  3         20.     Plaintiff brings this first claim for relief against Defendant under the
  4   FDCPA, 15 U.S.C. §§ 1692, et. seq.
  5         21.     Plaintiff incorporates all preceding paragraphs in this Complaint as
  6   though fully set forth herein.
  7   A.    FDCPA Threshold Elements
  8         22.     Plaintiff allegedly incurred an obligation to repay a loan, the proceeds
  9   of which Plaintiff used for personal, family and/or household purposes. Plaintiff is
 10   therefore allegedly obligated to pay a “debt” as that term is defined by 15 U.S.C.
 11   § 1692a(5).
 12         23.     Plaintiff is a natural person allegedly obligated to pay a debt to GSG.
 13   Plaintiff is thus a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
 14         24.     GSG purchased Plaintiff’s debt after the debt had fallen into default and
 15   after it was charged off by the creditor. GSG thereafter pursued debt collection
 16   litigation to collect the debt from Plaintiff. Defendant, a high-volume debt buyer,
 17   uses the instrumentalities of interstate commerce and the mails in its business, the
 18   principal purpose of which is the collection of debts. Defendant is thus a “debt
 19   collector” as that term is defined by 15 U.S.C. § 1692a(6).
 20   B.    FDCPA Violations
 21         25.     Attempting to Collect Amounts Not Owed: Not in conformity with the
 22   terms of the loan agreement that created the alleged debt, Defendant’s December 12,
 23   2019 debt collection lawsuit falsely and deceptively attempted to collect from
 24   Plaintiff a Prepaid Finance Charge for a second time plus interest on that Prepaid
 25   Finance Charge. Further, Defendant’s December 12, 2019 debt collection lawsuit
 26   calculated the total outstanding balance of the loan based on terms that were not in
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  1   conformity with the loan agreement and on terms that deceptively increased the
  2   amount allegedly owed on the debt. Further, Defendant has attempted to collect a
  3   usurious interest on the loan. Defendant has thus violated the FDCPA with respect
  4   to section(s) –
  5                1692d:       engaging in conduct the natural consequence of which is
  6                             to abuse the debtor in connection with the collection of a
  7                             debt;
  8                1692e:       using false, deceptive and misleading representations in
  9                             connection with the collection of a debt;
 10                1692e(2):    falsely representing the amount of the debt;
 11                1692e(10): using false representations and deceptive means in an
 12                             attempt to collect a debt;
 13                1692f:       using unfair and unconscionable means in an attempt to
 14                             collect a debt; and
 15                1692f(1):    attempting to collect amounts not expressly authorized by
 16                             the loan agreement or permitted by law.
 17         26.    Misrepresenting the Character and Legal Status of the Debt:
 18   Defendant’s December 12, 2019 debt collection lawsuit against Plaintiff
 19   misrepresented that Defendant could recover the debt under a cause of action for
 20   money had and received.
 21         27.    Defendant’s acts as described above were done knowingly and
 22   intentionally for the purpose of coercing Plaintiff to pay the debt.
 23         28.    As a result of Defendant’s violations of the FDCPA, Plaintiff has been
 24   caused to suffer anxiety and emotional distress, and has been caused to suffer other
 25   actual damages, including, without limitation, attorney’s fees incurred defending
 26   Defendants’ unlawful debt collection lawsuit.
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  1         29.    As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled
  2   to an award of statutory damages, actual damages, costs and reasonable attorney’s
  3   fees pursuant to 15 U.S.C. § 1692k.
  4                                REQUEST FOR RELIEF
  5         WHEREFORE, Plaintiff prays this Court:
  6         a)     Assume jurisdiction in this proceeding;
  7         b)     Declare that Defendants violated the FDCPA, including, without
  8                limitation, 15 U.S.C. §§ 1692d, e, e(2), e(10), f and f(1);
  9         c)     Award Plaintiff actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
 10         d)     Award Plaintiff statutory damages in an amount not to exceed $1,000,
 11                pursuant to 15 U.S.C. §§ 1692k(a)(2)(A);
 12         e)     Award Plaintiff the costs of this action together with reasonable
 13                attorney’s fees pursuant to 15 U.S.C. § 1692k(a)(3); and
 14         f)     Award Plaintiff such other and further relief deemed proper and just.
 15                             DEMAND FOR JURY TRIAL
 16         PLEASE TAKE NOTICE that Plaintiff, FELICIA WHITFIELD, hereby
 17   demands a trial by jury of all triable issues of fact in the above-referenced case.
 18
 19                                    Respectfully submitted,
 20   Date: December 10, 2020          HOESTENBACH LAW
 21                                    By: /s/ Hunter Hoestenbach
                                           Hunter H. Hoestenbach (SBN: 249130)
 22
                                           550 W. B St. Fl. 4
 23                                        San Diego, CA 92101-3537
                                           Tel: (619) 940-4868 / Fax: (619) 363-4631
 24
                                           E-mail: Hunter@HoestenbachLaw.com
 25
                                            ATTORNEY FOR PLAINTIFF
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